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                         UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF MASSACHUSETTS
                                (CENTRAL DIVISION)

In re:

SOUTHERN SKY AIR & TOURS, LLC                             Chapter 7
d/b/a DIRECT AIR,                                         Case No. 12-40944-MSH

               Debtor.


          MOTION OF MERRICK BANK CORPORATION TO APPEAR
     TELEPHONICALLY AT THE HEARING SCHEDULED FOR AUGUST 7, 2013


To the Honorable Melvin S. Hoffman, United States Bankruptcy Judge:

               Timothy T. Brock, as a member of Satterlee Stephens Burke & Burke, LLP

(“Satterlee”), on behalf of Merrick Bank Corporation (“Merrick”), respectfully states and prays

as follows:

         1.    On June 24, 2013, the Trustee of the bankruptcy estate of Southern Sky Air &

Tours, LLC d/b/a Direct Air filed a motion for, among other things, an order approving charter

participant claim reconciliation process [ECF No. 360].

         2.    The Court has scheduled a hearing on this motion for August 7, 2013 at 10:00

a.m. [ECF No. 366].

         3.    Because Satterlee’s office is located in New York, N.Y, I therefore respectfully

request permission to appear by telephone at the Hearing, on behalf of both myself and my law

partner at Satterlee, Daniel G. Gurfein, Esq.

         WHEREFORE, Timothy T. Brock and Daniel G. Gurfein respectfully request that the

Court enter an order allowing them to appear telephonically at the hearing scheduled for August

7, 2013 at 10:00 a.m. and grant such further relief as deemed necessary.



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                                                    Respectfully submitted,

                                                    MERRICK BANK CORPORATION

                                                    By its counsel,



                                                     /s Timothy T. Brock
                                                    Timothy T. Brock
                                                    Daniel G. Gurfein
                                                    Satterlee Stephens Burke & Burke LLP
                                                    230 Park Avenue, 11th Floor
                                                    New York, NY 10169
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Dated: July 24, 2013




                                     Certificate of Service

        I hereby certify that a copy of the foregoing document has been served by electronic mail

on all parties on the Court’s ECF system this 24th day of July 2013.


                                                              ____/s Timothy T. Brock________
                                                              Timothy T. Brock




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